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                   IN THE UNITED STATES COURT OF APPEALS

                            FOR THE ELEVENTH CIRCUIT



                                     No. 22-11287-AA


HEALTH FREEDOM DEFENSE FUND,
a Wyoming Not-for-Profit Corporation,
ANA CAROLINA DAZA,
an individual,
SARAH POPE,
an individual,

                                                                Plaintiffs - Appellees,

                                           versus

PRESIDENT OF THE UNITED STATES,
SECRETARY OF HEALTH AND HUMAN SERVICES,
THE CENTERS FOR DISEASE CONTROL,
THE DEPARTMENT OF HEALTH AND HUMAN SERVICES,
DIRECTOR OF THE CENTERS FOR DISEASE CONTROL
AND PREVENTION, et al.,

                                                                Defendants - Appellants.
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                   On Appeal from the United States District Court for the
                                Middle District of Florida
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O R D E R:

      The “Unopposed Motion for Leave to File Brief of American Medical Association as

Amicus Curiae in Support of Defendants-Appellants” is GRANTED.

      The “Motion for Leave to File Brief as Amici Curiae Public Health and Public Health Law

Experts in Support of Defendants-Appellants and Reversal” is GRANTED.



                                                        /s/ Adalberto Jordan
                                                        UNITED STATES CIRCUIT JUDGE
